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                                  UNITED STATES DISTRICT COURT
                                   DISTRICT OF NORTH DAKOTA


Scot Kelsh

v.                                                                  Case No: 3:18-CV-269

City of Fargo


                                         CLERK'S MINUTES
                              Proceeding: Mid-Discovery Status Conference
                                            (via telephone)

Presiding Judge: U.S. Magistrate Judge Alice Senechal               Date: Wednesday, July 10, 2019
Deputy Clerk: Lisa Clark                                            Time: 9:40am
Law Clerk: Amy Strankowski                                          Recess: 9:50am
Digital Recorder: 190710-000.mp3 (JS Chambers Recorder)


Pro Se Plaintiff: Scot Kelsh
Counsel for Defendant: Howard Swanson


Court calls case and counsel enters appearances.

Parties provide discovery update. Plaintiff is still working on production of discovery for the defendant.
Court sets deadline of July 17, 2019 for plaintiff to mail discovery to defendant.

Attorney Swanson states there may be additional discovery requests depending on what discovery the
plaintiff provides.

Parties agree no need to adjust deadlines at this time.


Recess.
